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		OSCN Found Document:IN THE MATTER OF THE REINSTATEMENT OF BARRETT

					

				
  



				
					
					
						
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				IN THE MATTER OF THE REINSTATEMENT OF BARRETT2021 OK 65Case Number: SCBD-7083Decided: 12/07/2021THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2021 OK 65, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 

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In the Matter of the Reinstatement of Colin Richard Barrett to Membership in the Oklahoma Bar Association and to the Roll of Attorneys.



ORDER



¶1 The petitioner, Colin Richard Barrett was stricken from the roll of attorneys of the Oklahoma Bar Association on June 11, 2018. On July 8, 2021, Barrett petitioned this Court for reinstatement as a member of the Oklahoma Bar Association. On October 5, 2021, the Professional Responsibility Tribunal held a hearing and recommended that the attorney be reinstated upon the payment of outstanding current and past dues. Upon consideration of the matter, we find:

1) The petitioner has met all the procedural requirements necessary for reinstatement in the Oklahoma Bar Association as set out in Rule 11, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, ch.1, app. 1-A.

2) The petitioner has established by clear and convincing evidence that he has not engaged in the unauthorized practice of law in the State of Oklahoma.

3) The petitioner has established by clear and convincing evidence that he possesses the competency and learning in the law required for reinstatement to the Oklahoma Bar Association.

4) The petitioner has established by clear and convincing evidence that he possesses the good moral character which would entitle him to be reinstated to the Oklahoma Bar Association.

¶2 IT IS THEREFORE ORDERED that the petition of Colin Richard Barrett for reinstatement be granted.

¶3 IT IS FURTHER ORDERED that Reinstatement is conditioned upon: 1) the payment of $257.20 in costs associated with these proceedings; and 2) the payment of $1275.00 in past and current dues. Costs and dues shall be paid within 90 days of the date of this order and reinstatement is conditioned upon such payment.

¶4 DONE BY ORDER OF THE SUPREME COURT THE 6th DAY OF DECEMBER, 2021.


/S/ACTING CHIEF JUSTICE


KANE, V.C.J., KAUGER, WINCHESTER, EDMONDSON, GURICH, ROWE, KUEHN, JJ., concur.

DARBY, C.J., COMBS, J., dissent.


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